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               UNITED STATES DISTRICT COURT
               NORTHERN DISTRICT OF FLORIDA
                   TALLAHASSEE DIVISION

GALE FORCE ROOFING AND
RESTORATION, LLC,

           Plaintiff,

v.                                     Case No.: 4:21-cv-00246-MW-MAF

JULIE I. BROWN, in her official
capacity as Secretary of the Florida
Department of Business and
Professional Regulation,

          Defendant.
__________________________________/
      PLAINTIFF’S REPLY TO DEFENDANT’S RESPONSE
              IN OPPOSITION TO AMENDED
         MOTION FOR PRELIMINARY INJUNCTION
     Plaintiff, Gale Force Roofing and Restoration, LLC (“Gale Force”), by

and through its undersigned attorneys, hereby files its Reply to

Defendant’s Response in Opposition to Amended Motion for Preliminary

Injunction (“Response”).

                           INTRODUCTION
     The 2021 Session of the Florida Legislature was described by the

former chairman of the Senate Judiciary Committee as “Spaghetti Politics”




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– throwing everything against the wall and see what sticks.1 Indeed, the

Florida Legislature has been accused multiple times in the past few weeks

of violating the First Amendment rights of social media companies,2

political committees raising funds to support or oppose ballot initiatives,3

and now contractors. The Act similarly infringes on speech that is

protected by the First Amendment and it should meet a similar fate.

Defendant’s arguments to the contrary are insufficient to save the Act.

      First, Defendant attempts to re-write the statute in their briefing to

try and salvage the Act. Its efforts are admirable but unavailing. The

statute as written applies far more broadly and sweeps up substantially

more speech than Defendant admits. Second, this Court must apply strict

scrutiny to the restrictions of Gale Force’s speech since it is plainly a

content-based restriction. Third, even if this Court were to apply

intermediate scrutiny – the Act would likewise be found unconstitutional.


1 Hayes, Kelly, ‘Spaghetti Politics’: Pinellas legislators recap 2021 Session, Florida
Politics,      June       16,    2021     (last     accessed     July      7,    2021)
(https://floridapolitics.com/archives/436171-spaghetti-politics-pinellas-county-
legislators-recap-2021-session/) (statement of Sen. Jeff Brandes).
2 NetChoice, LLC, et al v. Ashley Brooke Moody, et al, Case No.: 4:21-cv-220-RH-MAF
(N.D. Fla. June 30, 2021) (order enjoining Florida Statutes §§ 106.072 or 501.2041
from being enforced based on apparent violations of the First Amendment)
3The American Civil Liberties Union of Florida, Inc., et al. v. Laurel Lee, et al, Case
No.: Case No. 4:21-cv-190-AW-MJF (N.D. Fla. July 1, 2021) (order enjoining Ch. 21-
16, § 1, Laws of Fla. based on apparent violations of the First Amendment)


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Fourth, the harm alleged – violations of First Amendment rights –

categorically, if found, equate to irreparable harm for which there is no

public or state interest that must be balanced.

     When Defendant’s brief is stripped of its hyperbole regarding

homeowners “conned” into making insurance claims and unsupported

accusations about a state flooded with insurance fraud by contractors

(which by its own admission is a small percentage), there is little left for

this Court to consider. Essentially, the only thing remaining is Defendant’s

claim it should be able to regulate what a contractor (or anyone else) says

to homeowners about filing an insurance claim because by doing so it may

have some (unknown) impact on insurance fraud in the state of Florida.

Since that plainly does not meet any level of constitutional scrutiny, the

Act should be preliminarily enjoined.

I.   Defendant’s Attempts to Narrow the Act’s Plain Language
     are Unavailing
     Defendant begins its analysis of the Act by again trying to re-frame

the question presented. In its view, the Act merely prohibits contractors

from advertising via electronic or written mediums to specific

homeowners for the purpose of encouraging a consumer to make an




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insurance claim for roof damage. See Response, p. 11. The statutory

language itself belies such a limited application.

     As with any issue of textual interpretation, this Court must begin

with the plain language used and the focus must be the words used in

the statute. On this topic, the Eleventh Circuit instructs this Court to

“determine whether the language at issue has a plain and unambiguous

meaning, and, if so, we need go no further.” Barrientos v. CoreCivic, Inc.,

951 F.3d 1269, 1276 (11th Cir. 2020) (cleaned up). Florida courts require

their statutes to be interpreted in a similar manner. “A basic tenet of

statutory interpretation is that a statute should be interpreted to give

effect to every clause in it, and to accord meaning and harmony to all of

its parts.” Jones v. ETS of New Orleans, Inc., 793 So. 2d 912, 914–15 (Fla.

2001). “Statutory phrases are not to be read in isolation, but rather

within the context of the entire section.” Acosta v. Richter, 671 So. 2d 149,

153–54 (Fla. 1996).

     First, Defendant suggests the Act only applies to communication

that “target a specific person” but such necessarily changes the plain

language of the statute. See Response, p. 11. The Act defines solicitation

as “contacting” in three different avenues: (in person, by electronic



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means, or delivery to a specific person). Importantly, these three options

are joined by the word “or,” which is a disjunctive meaning each is an

alternative option. See, generally, In Re Krieg, 951 F.3d 1299, 1301 (11th

Cir. 2020) (describing the use of the word “or” as implying alternative

methods for compliance). Defendant would read the statute as “and”

implying each of the options are limited by the phrase – “delivery to a

specific person.” But such is not a fair reading of the act. Each of the

options for “contacting” a homeowner (in person, electronically, or

delivery to a specific person) are each independent bases that would

establish liability under the Act.

     Second, Defendant again ignores the plain language of the Act and

attempts to cabin its application just to contractors when it clearly

applies to anyone who engages in the conduct prohibited by the Act. The

Act (§ 489.147(4)(b)) expands the application of Section 1 far beyond

licensed contractors to reach “any person acting on behalf of the

contractor” or “any unlicensed person who engages in an act prohibited

by this section.” The word “any” means what it says – any person. Any

individual – attorney, neighbor, etc. – that engages in prohibited conduct

will potentially face the same serious sanctions facing Gale Force. An



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incredibly broad statutory scheme to be sure. While this Court should

void reaching constitutional question in the application of a statute if it

need not, this Court may not rewrite the plain language of the text to

narrow its application and “skirt the constitutional infirmity.” Bailey,

190 F.3d at 324. Defendant’s limiting attempts should be rejected.

     To summarize, the Act prohibits (in extraordinarily broad strokes)

any type of communication that suggest filing of an insurance claim by

any person. It also prohibits communication between a contractor and a

customer that seeks to truthfully inform the customer how he or she may

be able to pay for repairs that are necessary to remedy storm damage.

     With this proper scope of the Act in mind, turning now to the injury

alleged by Gale Force and the level of scrutiny this Court must apply.

III. The Act Fails Strict Scrutiny
     Defendant takes issue with Gale Force’s application of strict

scrutiny to the Act. Importantly, though, Defendant makes no argument

that the Act survives strict scrutiny effectively conceding the Act cannot

meet its rigorous demands. This Court is bound by Supreme Court

precedent to apply strict scrutiny to the Act. But before beginning this

analysis it is important to understand the two types of communications

Gale Force has pleaded will be infringed if the Act remains in effect: (1)

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the professional advice from Gale Force to a homeowner advising their

roof is in need of replacement, explaining that the cost of the work may

be covered by an insurance policy, and requesting the consumer contact

Gale Force regarding the same; and (2) communication telling

homeowners to contact Gale Force as their roof system may have damage

that their insurance policy will cover.

     A.    Professional Advice is Not Commercial Speech and is
           Subject to Strict Scrutiny
     The communication by Gale Force to a homeowner providing its

professional opinion regarding the status of the property and its need for

a roof replacement is squarely professional speech and outside the realm

of the commercial speech doctrine. The state can no more come between

a contractor and a homeowner than it could come between a doctor and a

patient, CPA and client, or the like. The Eleventh Circuit in

Wollschlaeger and Otto squarely resolved the issue as to the Gale Force’s

professional speech to homeowners conveying its advice that a home (that

has been inspected) needs a roof repair/replacement and that homeowner

should contact Gale Force to have that work done with the understanding

to have the work paid for by an insurance company. Wollschlaeger v.

Governor, Florida, 848 F.3d 1293, 1308 (11th Cir. 2017) (en banc)


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(determining whether the state of Florida could prohibit doctors from

“making a written inquiry or asking questions concerning the ownership

of a firearm or ammunition”). Although, Wollschlaeger side-stepped the

question of what level of scrutiny to apply, in Otto, the Eleventh Circuit

resolved the issue requiring “content-based regulations” to be reviewed

“under strict scrutiny.” Otto v. City of Boca Raton, Florida, 981 F.3d 854,

861 (11th Cir. 2020) (citing Wollschlaeger, 848 F.3d 1293, 1307).

     The Act regulates what a professional may say (content-based)

based on who is saying it (a contractor). This content-based and speaker-

based discrimination subjects the Act to strict scrutiny. The state of

Florida attempts to come in between a contractor and his or her

customers (including when that speech is done in person) in order to limit

what the contractor can truthfully convey to homeowners. Simply

describing this Act as “commercial speech” in order to obtain a more

forgiving level of review is not enough. Dana's R.R. Supply v. Attorney

Gen., Florida, 807 F.3d 1235, 1248 (11th Cir. 2015) (holding that the

State of Florida “merely wrap[ed] a law in the cloak of ‘commercial

speech’ . . . [to] immunize it from the highest form of scrutiny.”).

     Simply calling every communication that comes from a contractor



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regarding filing an insurance claim an “advertisement” in order to subject

it to a lower level of scrutiny is a wolf in sheep’s clothing. It is also

important to understand how this communication would work in the

contractor context. As Mr. Dewey explained (and Gale Force pleaded), a

contractor cannot opine from a distance (in most circumstances) that a

roof needs to be repaired or replaced – an inspection must be done first.

See Second Affidavit of Alexander Dewey at ¶ 6. It is at this point after

Gale Force has determined there is damage and now wants to inform the

homeowner about the necessity of making a claim for insurance benefits.

It is then the state of Florida seeks to jump in and silence Gale Force’s

speech. Gale Force is prevented from giving its professional advice to a

homeowner as to how they may be able to pay for work needed to their

home. See Second Affidavit of Alexander Dewey at ¶ 8.

     There can be no more doubt. The Supreme Court and Eleventh

Circuit have made clear this Court must apply strict scrutiny to the Act.

And it cannot survive that review (nor does Defendant even attempt to

explain how it might).




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     B. Post-Reed Content-Based Restrictions are Subject to
        Strict Scrutiny
     Despite Defendant’s impressive string cite, the case law simply does

not support its argument that Central Hudson has application post-Reed

on content-based restrictions. As Judge Wilson explained in his

concurrence to the Court’s Wollschlaeger en banc opinion (reiterating the

position he took in the three (3) prior panel decisions), when a statute

imposes content-based restrictions on speech is it automatically subject

to strict scrutiny. Wollschlaeger, 848 F.3d at 1324 (Wilson, J. concurring).

Judge Wilson noted the shift in First Amendment jurisprudence brought

about by Reed and the impact it would have ultimately solidifying

protections for First Amendment rights. Id. at 1325. Only when courts

consistently apply strict scrutiny will courts prevent “official suppression

of ideas” and government “hostility–or favoritism” to the ideas being

conveyed. Id.; see also Brickman v. Facebook, Inc., 230 F. Supp. 3d 1036,

1043 (N.D. Cal. 2017) (applying Reed to determine if the telephone

consumer protection act was an unconstitutional content-based

restriction on Facebook’s speech – sending text message advertisements

to consumers).




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     The Sixth Circuit has likely the most detailed analysis of post-Reed

implications on commercial speech. Int'l Outdoor, Inc. v. City of Troy,

Michigan, 974 F.3d 690, 703 (6th Cir. 2020). In its analysis of each circuit

and district court that has addressed this issue, it noted there was

seemingly a reticence to confront the issue head-on. Id. In fact, many

courts passed over the question of whether strict scrutiny applied

preferring to use intermediate scrutiny instead. Id. It then followed that

if a statute or regulation could not satisfy intermediate scrutiny it would

also fail more exacting review.

     But the Sixth Circuit dove into the inquiry. It left nothing

uncertain. It made apparent that post-Reed all content-based restrictions

on speech, even those involving commercial speech, are subject to strict

scrutiny. Id. Focusing on the plain language of Reed and the Supreme

Court’s decisions post-Reed, it determined intermediate scrutiny is only

applicable to “a speech regulation that is content-neutral on its face.” Id.

Not only does the plain text of Reed compel this analysis, but post-Reed

the Supreme Court in Barr v. American Association of Political

Consultants “repudiated the approach taken earlier by some of the circuit

courts” and instructs lower courts that “strict scrutiny applies to content-



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based restrictions.” Id. at 706. The Sixth Circuit used no uncertain terms:

“[t]he Supreme Court has flatly confirmed the requirement to apply

Reed’s strict-scrutiny standard . . . .” Id.

      Defendant’s reliance on the Fifth Circuit’s opinion in Reagan Nat’l

Advertising of Austin, Inc. v. City of Austin, 972 F.3d 696, 709 (5th Cir.

2020), is misplaced. The Fifth Circuit actually applied Reed and reviewed

the City’s regulations under strict scrutiny, ultimately finding them to be

invalid as content-based restrictions lacking narrow tailoring to achieve

a compelling government interest. Id. Indeed, it was on that point Austin

sought certiorari review (the Fifth Circuit applied Reed to broadly) and

the Supreme Court granted the petition. Austin, TX v. Reagan Nat.

Advert., 20-1029, 2021 WL 2637836, at *1 (U.S. June 28, 2021).

      The Supreme Court’s decision in Reed and its post-Reed decisions

(including Barr) have made clear strict scrutiny is the standard this

Court must apply when the statute in question in content-based, even if

the Act is a regulation of commercial speech.

III. The Act Does Not Satisfy Intermediate Scrutiny
      Even if this Court were to evaluate the Act through the Central

Hudson lens, the Act still fails. Since Defendant seemingly agrees there



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is nothing “unlawful” or misleading” about Gale Force’s speech, it only

remains whether Defendant’s restrictions are “narrowly drawn” to

“directly and materially advance” a “substantial interest” See Response,

p. 14) (quoting Fla. Bar. v. Went for It, 515 U.S. 618, 623 (1995)). Looking

at each in turn.

     A.    The Act Lacks any “Substantial State Interest”
     Defendant asserts one “interest” the state of Florida is pursuing

with this legislation – reducing insurance claims for roof repairs “that

often never get completed and were not necessary in the first place.” See

Response, p. 16. This is truly the aim of the Act – preventing insurance

claims for roof damage from being filed. Such is simply not a substantial

state interest. While it is likely high on the priority list for Florida’s

insurance carriers – the state of Florida has no interest in determining

whether homeowners file valid claims. Of course, preventing insurance

fraud is a compelling interest, but Defendant candidly admits that is

really not the true aim of this statute and the Act’s primary sponsors

resoundingly agreed. The point of the Act is to slow and stop roofing

claims, regardless of whether the claim is covered under the policy.

     Laws targeting so-called “cottage industries” are nothing new and

their constitutionality remains suspect. For instance, Texas targeted

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chiropractors and prohibited soliciting consumers that had pre-existing

condition or were involved in an accident. Bailey v. Morales, 190 F.3d 320,

321 (5th Cir. 1999). Although that statute (unlike the Act before this

Court) exempted communication by a friend or family member, advice

from an attorney, or recommendation from a qualified nonprofit. Id.

Accepting Texas’ “strong interests” of protecting vulnerable consumers

and upholding the reputations of the profession, the Fifth Circuit turned

to whether the statute “materially and directly” advanced those goals. Id.

at 323. It did not. Texas argued it was “common sense” that its speech-

restraint advanced its interests – but the Fifth Circuit determined that

was simply not enough. Id. at 324. The broad ban on chiropractor’s speech

was not supported by self-serving declarations by legislators, nor was it

supported by claims that chiropractors conduct was likely to cause

overreaching and “other misconduct.” Id. The ban was simply too broad

and swept up too much protected speech without showing how exactly it

would accomplish its goals. The Fifth Circuit held the restraint on speech

was not justified and declared the statute unconstitutional. Id. at 326.

     Reducing the number of valid insurance claims was the

Legislature’s goal for the Act and it is simply insufficient to satisfy its



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requirement to show a “substantial interest.” But, even if this Court

accepts that interest at face value, Defendant cannot show how the Act

directly advances that goal in a manner that is not more extensive than

necessary.

      B.     The Act does not “Directly Advance” a Legitimate
             Government Interest
      This Central Hudson prong “requires that the speech restriction

directly and materially advance the asserted governmental interest.”

Greater New Orleans Broad. Ass’n v. U.S., 527 U.S. 173, 188 (1999). As

discussed above, Defendant begins with an entirely unsupported premise

– nearly 10% of property insurance claims contain some sort of fraud –

and then suggests the state of Florida acted reasonably by making it

more difficult for consumers to file any claim in order to prevent those

10% (if it is really that high) of claims. Of course, the flip side is also true

– 90% of residential property claims filed are valid claims that involve no

fraud, and it will now be unlawful for a contractor to assist that 90% with

filing a legitimate claim for covered damage. The Act’s overbreadth

sweeps up these valid claims to target the alleged 10% of “fraud” claims.

      Defendant suggests it is common sense that preventing contractors

from communicating to insureds will stop insurance fraud in its tracks,


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but there is no data given to support its analysis. Indeed that “common

sense” approach was the rationale rejected by the Fifth Circuit in Bailey.

Defendant must show some evidence that its substantial interest will be

materially aided by its restrictions.

     It simply cannot. Insurance companies remain free to deny any

invalid or fraudulent claim that is submitted. Nothing about this Act will

meaningfully stop a fraudulent claim. The Act does not even speak to the

difference between a valid claim or a fraudulent one. Even taking

Defendant’s cramped reading of the Act as true, the Act will purportedly

prevent insurance fraud by not permitting contractors to communicate in

writing to specific homeowners. Incredibly, this rampant fraud will

somehow still be squashed despite contractor’s (again, assuming

Defendant’s reading is true) being able to communicate the exact same

message verbally, on the radio, on television, billboards, and the like. It

stretches reason to imagine how such a restriction on speech will actually

do anything to accomplish its stated goal.

     C.    Not More Extensive Than Necessary
     “[I]f the First Amendment means anything, it means that regulating

speech must be a last--not first--resort.” Thompson v. W. States Med. Ctr.,

535 U.S. 357, 373 (2002). “[I]f the Government could achieve its interests

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in a manner that does not restrict speech, or that restricts less speech, the

Government must do so.” Id. at 371—72 (striking down a restriction on

prescription drug advertising); 44 Liquormart, Inc. v. Rhode Island, 517

U.S. 484, 507 (1996) (striking down restriction on advertising the price of

alcoholic beverages partly because “[i]t is perfectly obvious that alternative

forms of regulation that would not involve any restriction on speech would

be more likely to achieve the State's goal”); Greater New Orleans Broad.

Ass'n, 527 U.S. at 192 (“There surely are practical and nonspeech-related

forms of regulation . . . that could more directly and effectively alleviate . .

. the social costs of casino gambling.”).

      The Eleventh Circuit addressed a similar restriction on advertising–

the use of the phrase “skim milk”–that was prohibited unless the milk had

the same vitamin content as whole milk. Ocheesee Creamery LLC v.

Putnam, 851 F.3d 1228, 1233 (11th Cir. 2017). The Eleventh Circuit

assumed (without deciding) the state had a legitimate interest in

preventing milk fraud but determined the statute still failed since the state

had other less burdensome alternatives. Id. at 1240. The Court noted in

free speech cases–more speech is better, not less. Id. (quoting Bates v. State

Bar of Ariz., 433 U.S. 350, 375 (1977)). The state could have simply



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required truthful disclosures about the vitamin content in the milk. Id. Or

other similar means to get the information to consumers the state felt was

necessary to prevent fraud. In addition, the state could not show its

restriction was “not more extensive than necessary to serve its interest”

since it plainly had other avenues to accomplish its goals as opposed to a

complete ban on truthful speech. Id.4

      Likewise, here, the state could more aggressively prohibit insurance

fraud and impose licensure penalties for any contractor engaged in such.

The state could require disclosures (as it presently does in many instances)

of consumer’s rights and legal protections (e.g., § 627.7152 describing the

18-point font disclosures that must be provided to consumers in an

assignment of post-loss insurance benefits). The state could also more

aggressively pursue insurance fraud prosecutions and assist insurance

companies in denying these invalid claims. But this Act does none of that.

It targets actors the Legislature disfavored and singled them out for special




4 Again, as in Wollschlaeger, the Eleventh Circuit refused to confront the issue of
whether Central Hudson applied to content-based restrictions post-Reed. Ocheesee
Creamery LLC, 851 F.3d at 1235 n.7. Since the parties had not briefed that issue (and
the statute could not survive intermediate scrutiny) the Court found it unnecessary
to reach that issue. Of course, as discussed above, the Eleventh Circuit then resolved
that issue in Otto.

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treatment–silencing their speech. Such is plainly “more extensive than

necessary to serve its interest.”

IV.    First Amendment Violation Automatically is Irreparable
       Harm and Outweighs any State or Public Interest
       Defendant is simply wrong in its assertions about irreparable harm.

Gale Force has alleged irreparable harm in its inability to communicate

things it would have communicated but for the Act. Gale Force may no

longer send the advertisement it previously sent to homeowners offering

its services in exchange for insurance proceeds that may be payable. See

Second Affidavit of Alexander Dewey, at ¶ 7, A-1, and A-2. Specifically, Mr.

Dewey explained how Gale Force (due to the Act) will self-censor and not

be able to “advertise” and “communicate” as it had done previously. See

Second Affidavit of Alexander Dewey, at ¶ 10. To say that amounts to

simply a business interruption or monetary damage claim ignores the fact

it is the limit on Gale Force’s speech which is the ultimate cause of the

problem and the basis of the injury.

       This Court has recently addressed this issue and determined that

once the Court determines the Act is a First Amendment violation, the

element of irreparable harm and balance of public interest nearly

automatically are met. NetChoice, LLC, 2021 WL 2690876, at *11 (“When


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a plaintiff is likely to prevail on the merits of a First Amendment claim,

these other prerequisites to a preliminary injunction are usually met.”)

(citing Otto, 981 F.3d at 870); see also The American Civil Liberties Union

of Florida, Inc., Case No. 4:21-cv-190-AW-MJF at * 16 (“[H]arms to

speech rights for even minimal periods of time, unquestionably constitute

irreparable injury supporting preliminary relief.”) (citations omitted).

     Gale Force has shown it will suffer irreparable harm absent

injunctive relief and Defendant has no sufficient interest to restrict First

Amendment-protected speech since there is “no [public] interest in

enforcing an unconstitutional law.” Scott v. Roberts, 612 F.3d 1279, 1297

(11th Cir. 2010). Accordingly, Gale Force satisfies these requirements.

                             CONCLUSION
     The Act is a clear example of the Legislature putting its thumb on

the scale in favor of one industry over another. While insurance fraud

should be punished (along with unlicensed public adjusting) the Act does

not speak to that. The Act is a content-based restriction on a particular

class of individuals that would prohibit them from conveying truthful

information to homeowners. This Act fails constitutional scrutiny (under

either test). This Court should preliminarily enjoin the Act.



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                  CERTIFICATE OF WORD COUNT

     Pursuant to Local Rule 7.1, I hereby certify that this Reply to
Defendant’s Response in Opposition to Amended Motion for Preliminary
Injunction, relying on the word-processor system calculation, contains
4,251 words and therefore does not exceed 8,000 words, excluding the
case style, signature block, and certificate of service.

                     CERTIFICATE OF SERVICE

     I HEREBY CERTIFY that on July 8, 2021, a true and correct copy

of the foregoing was filed with the Clerk of Court using the CM/ECF

portal, which will serve all counsel of record.

                             WEBER, CRABB & WEIN, P.A.

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